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 6   CELIN DAVID DOBLADO-CANACA
 7
 8                                   UNITED STATES DISTRICT COURT

 9                                  NORTHERN DISTRICT OF CALIFORNIA

10                                       SAN FRANCISCO DIVISION

11      UNITED STATES OF AMERICA,                          Case No. CR-21-00416 JD
                                                            DEFENDANT’S SENTENCING
12                     Plaintiff,                           MEMORANDUM
13             v.
14
        CELIN DAVID DOBLADO-CANACA,                         Date: November 21, 2022
15                                                          Time: 10:30 a.m.
                       Defendant.
16
17
18
19          Defendant CELIN DAVID DOBLADO-CANACA, by and through his counsel of record,
20   Dena Marie Young, hereby submits his Sentencing Memorandum.
21
22                                           INTRODUCTION
23          On July 11, 2022, Mr. Doblado-Canaca entered a plea of guilty to distribution of a mixture
24   and substance containing fentanyl in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C).
25          The plea agreement, pursuant to Rule 11(c)(1)(C), contemplates a sentence between 48
26   months and 72 months, followed by three years of supervised release.
27          For the reasons discussed below, Mr. Doblado-Canaca requests that this Court impose a
28   custodial sentence of 48 months. Such a sentence would be a sufficient sentence within the


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 1   meaning of Gall v. United States, 552 U.S. 38 (2007), and is consistent with the factors set out in
 2   18 U.S.C. § 3553(a).
 3                                                      I.
 4                         OBJECTIONS TO THE PRESENTENCE REPORT
 5           Mr. Doblado-Canaca has no outstanding objections to contents of the presentence report.
 6
                                             II.
 7                   THIS COURT SHOULD IMPOSE A SENTENCE OF 48 MONTHS
                     BECAUSE IT IS A SUFFICIENT SENTENCE CONSIDERING THE
 8                   FACTORS SET OUT IN 18 U.S.C. § 3553(A).
 9
             While the guidelines must be respectfully considered, they are one factor among the §
10
     3553(a) factors that are to be taken into account in arriving at an appropriate sentence. United
11
     States v. Carty, 520 F.3d 984, 992 (9th Cir.2008). Sentencing courts must give “meaningful
12
     consideration” to all of the statutory factors in 18 U.S.C. §3553(a). Section 3553(a) clearly states
13
     that a court must impose a sentence that is “sufficient but not greater than necessary to comply
14
     with the purposes of sentencing.        This requirement is often referred to as ‘the parsimony
15
     provision,” and the Supreme Court has referred to it as the “overarching instruction” of 18 U.S.C.
16
     §3553(a). See Kimbrough v. United States, 552 U.S. 85 (2007). Although the offender’s conduct
17
     is part of the sentencing equation, it is not the totality of it, and the sentencing court must not focus
18
     on the offense at the expense of the individual offender. United States v. Booker, 543 U.S. 220
19
     (2005) and United States v. Ameline, 409 F.3d 1073 (9th Cir.2005)(en banc). The sentence must
20
     be long enough to reflect the seriousness of the offense, provide for just punishment and promote
21
     respect for the law. Further, it should afford adequate deterrence to criminal conduct in general
22
     and protect the public. It must be “sufficient but not greater than necessary” to reflect societal
23
     concerns and individual considerations.
24
             Here, the base offense level is elevated substantially to Level 38 because the sale of a small
25
     quantity of drugs resulted, however indirectly, in the death of a user of those drugs. While the
26
     application of the Sentencing Guidelines is not in dispute, these guidelines do not accurately reflect
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     the actual nature of the offense, nor do they adequately account for the circumstance under which
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 1   the offense was committed. Counsel for Mr. Doblado-Canaca believes that a term of 48 months
 2   is a substantial sentence under the circumstances and is sufficient to comply with the purposes of
 3   sentencing.
 4                                                     III.
 5                                             EVALUATION
 6
 7          Mr. Doblado-Canaca grew up in poverty in Honduras, where poverty was the norm. He
 8   had the benefit of close family relationships despite poor living conditions. He dropped out of
 9   school after the fourth grade in order to work in the fields with his father to help support his family.
10          Mr. Doblado-Canaca came to the United States seeking greater employment opportunities,
11   not just for himself, but to assist his family. He has three children from a prior relationship in
12   Honduras, that range in age from 6 to 17. Their mother suffers from leukemia. She struggles
13   personally and financially as a result of her poor health. Mr. Doblado-Canaca tried to assist her
14   and the children financially by sending them money when he was able to find work in the United
15   States. He is very concerned that he can no longer assist them while he is in custody.
16          Unfortunately, life in the United States did not prove to be everything that Mr. Doblado-
17   Canaca hoped it would be. The cost of living here was very high. His work opportunities were
18   limited by his lack of education, his limited English skills, and his lack of proper immigration
19   documents. He turned to drug use to deal with his personal distress. These conditions led him to
20   sell drugs in order to try to make ends meet and to support his own use. Although he was
21   previously removed from the United States, he returned, still desperately hoping that conditions in
22   the United States would be better than conditions in Honduras, and that he could better provide for
23   his family. With this conviction, the risk involved in returning is substantially greater, and should
24   be enough to prevent his return.
25          During his time in the United States, Mr. Doblado-Canaca began a relationship with a
26   woman, Ms. Garcia. They had a daughter who was born prematurely and was hospitalized for
27   several months. Unfortunately, Mr. Doblado-Canaca has been incarcerated on this case for his
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 1   daughter’s entire life. He has lost contact with her mother as a result, so he has no contact with
 2   this daughter.
 3          Mr. Doblado-Canaca was supporting himself by dealing in small amounts of drugs,
 4   including fentanyl, in the Tenderloin when he was arrested on this case.
 5          In this case, Mr. Doblado-Canaca sold a small quantity of drugs to M.G. He had no way
 6   to know that M.G. was going to distribute them to others. He had no direct contact with the two
 7   men who ultimately used and were harmed by the drug. Mr. Doblado-Canaca did not intend to
 8   harm anyone. He is devastated that someone died as a result.
 9          A sentence of 48 months will not result in an unwarranted disparity in sentencing as it is
10   not inconsistent with the results of other cases involving fentanyl-related overdose deaths. The
11   Government’s sentencing Memorandum details some of these recent cases. In many of those
12   cases, there was a more direct relationship between the defendant and the person who ultimately
13   died. The more direct relationship suggests greater disregard for the safety of that person.
14          For example, in the Pascoe case, which resulted on a 60-month sentence, there was a direct
15   relationship between the defendant and the high-school classmate to whom he sold the tainted
16   pills. See, United States v. Pascoe, No. 22-CR-25 WHA. This also reflects a greater degree of
17   disregard for the safety of others than is present in this case, where Mr. Doblado-Canaca did not
18   foresee further distribution of the drug and did not have any reason to believe anyone would be
19   harmed.
20          In another recent case (also involving a Rule 11(c)(1)(C) plea, the defendant was sentenced
21   to a term of 84 months for distribution of fentanyl causing death inside the Santa Rita Jail. See
22   United States v. Reid, No. 22-CR-142 JST. In that case, the defendant distributed “pink” fentanyl
23   to inmates in the Santa Rita Jail. When the original dose proved ineffective, she distributed a
24   stronger “white” fentanyl instead. Although she observed that two of her fellow inmates who took
25   the stronger doses showed signs of overdose, she did not summon help for them. One of them
26   died as a result. Unlike this case, that defendant not only distributed the fentanyl which resulted in
27   death, she prevented, through her silence, timely medical intervention which might have prevented
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 1   the death. This conduct is far more culpable that the conduct in the present case. The ultimate
 2   sentence in this case should reflect the lesser degree of culpability.
 3          For Mr. Doblado-Canaca, a sentence of 48 months represents twice the length of any
 4   previous sentence that he has served. It is more than sufficient to deter him from committing
 5   crimes in the future. His punishment is greater than the time of incarceration alone. He has already
 6   lost contact with his youngest daughter due to his incarceration in this case. He is unable to assist
 7   his family in Honduras while he is incarcerated, and he is missing important aspects of his
 8   children’s young lives.
 9          Mr. Doblado-Canaca is subject to an outstanding warrant of removal independent of this
10   case. For that reason, he will be restricted from participating in BOP programing which might
11   otherwise have allowed him to earn reduced custody time. His participation in programming will
12   be further limited by his inability to speak and read in English. In short, he will be warehoused
13   longer than a similarly situated citizen prisoner and will be less able to improve himself through
14   his incarceration.
15                                             CONCLUSION
16          For the foregoing reasons, Mr. Doblado-Canaca respectfully requests that this Court
17   impose a custodial sentence of 48 months. This sentence is sufficient under the circumstances to
18   punish him for his conduct, and to deter such conduct in the future.
19
20          Dated: November 7, 2022                 Respectfully Submitted,
21                                                          __/s / _______________
                                                            DENA MARIE YOUNG
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23                                                          Attorney for Defendant
                                                            CELIN DAVID DOBLADO-CANACA
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